
690 S.E.2d 533 (2010)
Nancy COCHRAN
v.
Robert L. COCHRAN.
No. 346P09.
Supreme Court of North Carolina.
January 28, 2010.
Phillip T. Jackson, Marion, for Robert L. Cochran.
Lee F. Taylor, Marion, for Nancy Cochran.
Prior report: ___ N.C.App. ___, 679 S.E.2d 469.

ORDER
Upon consideration of the petition filed on the 24th of August 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 28th of January 2010."
